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 3
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 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5
                              UNITED STATES BANKRUPTCY COURT
 6
                                     DISTRICT OF NEVADA
 7
                                                              Case No. 21-14486-abl
 8    In re:                                                  Chapter 7
 9
      INFINITY CAPITAL MANAGEMENT, INC.                       MOTION TO: (I) APPROVE SALE
10    dba INFINITY HEALTH CONNECTIONS,                        OF CERTAIN ASSETS; (II) SET
                                                              SALE/AUCTION PROCEDURES;
11                         Debtor.                            AND (III) SET AUCTION
                                                              HEARING DATE
12

13
               ROBERT E. ATKINSON, the chapter 7 trustee of the above-captioned bankruptcy
14
     estate (“Trustee”) hereby moves the Court for entry of an order (i) approving the sale of non-
15
     abandoned account receivables and related causes of action owned by the Bankruptcy Estate
16
     to creditor HASelect-Medical Receivables Litigation Finance Fund International SP
17
     (“HASelect”), subject to overbid at auction, (ii) setting the auction time of the sale, and (iii)
18
     establishing the procedures for such auction.
19
               This Motion is based on: the Memorandum of Points and Authorities contained
20
     herein; the pleadings and papers on file in this case; the attached exhibits; the Declaration of
21
     Robert E. Atkinson (“Trustee’s Decl.”) filed contemporaneously herewith; and any oral
22
     arguments made of the time of hearing on this matter.
23

24   DATED: December 3, 2021                         ATKINSON LAW ASSOCIATES LTD.

25                                                   By:         /s/ Clarisse Crisostomo
26
                                                           CLARISSE L. CRISOSTOMO, ESQ.
                                                           Nevada Bar No. 15526
27                                                         Attorney for Robert E. Atkinson, Trustee
28




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 1
                        MEMORANDUM OF POINTS AND AUTHORITIES
 2
                                       I.      BACKGROUND
 3
             1.       On September 14, 2021 (“Petition Date”), Debtor filed a voluntary petition for
 4
     chapter 7 bankruptcy relief in this district [DE #1], commencing this bankruptcy case
 5
     (“Bankruptcy Case”) and creating the associated bankruptcy estate (“Bankruptcy Estate”).
 6
             2.       Pre-petition, debtor Infinity Capital Management Inc. (“Debtor”) was engaged
 7
     in the business of purchasing receivables from medical providers. [Trustee’s Decl. at ¶ 4.]
 8
             3.       Creditor HASelect is a secured creditor of the Debtor. Their pre-petition
 9
     perfected security interest covers all assets of the Debtor. [Id. at ¶ 5.]
10
             4.       On October 15, 2021, an order was entered in the Bankruptcy Case abandoning
11
     the Debtor’s interest in certain of Debtor’s collateral, which excluded the following portfolio:
12
                     The Tecumseh Receivables as defined in Tecumseh – Infinity Medical
13
                      Receivable Fund, LP’s Objection to Joint Motion to Approve Abandonment of
14                    Collateral [ECF No. 82] and as identified in Exhibit A and, to the extent
                      marked as assigned to Tecumseh, Exhibit B to the Meyer Declaration [ECF
15                    No. 59], as well as any records relating exclusively thereto or any proceeds
                      thereof
16

17
     (hereinafter, the “Tecumseh Receivables”). [See DE #97.]

18           5.       Tecumseh – Infinity Medical Receivable Fund, LP (“Tecumseh”) has asserted
19   in this bankruptcy case that the Tecumseh Receivables are its property, not property of the

20   Bankruptcy Estate. [Trustee’s Decl. at ¶ 6.]

21           6.       On October 19, 2021, HASelect commenced an adversary proceeding against

22   Tecumseh in the District of Nevada (adversary case no. 21-01167) (the “AP Case”) seeking

23   declaratory and injunctive relief regarding the Tecumseh Receivables. On November 19,

24   2021, Tecumseh filed various counterclaims against HASelect and the Trustee in the AP Case

25   seeking declaratory relief concerning ownership of the Tecumseh Receivables.

26           7.       The Tecumseh Receivables have been generating money. The Trustee

27   received the following funds from the Debtor’s principal, which have been deposited into

28   segregated estate bank accounts:



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 1
                     A total of $75,402.85 in checks from certain of the Tecumseh Receivables
 2                    (colloquially known as the “TIF Checks”)
 3
                     A total of $13,400.00 in checks from certain other receivables that include
 4                    Tecumseh Receivables (colloquially known as the “TIF+HAS Checks”).
 5   [Trustee’s Decl. at ¶ 7.]
 6
            8.        The Trustee has agreed to sell the following assets (collectively, the “Assets”)
 7
     to HASelect, on the terms and conditions contained in the Asset Purchase Agreement attached
 8
     hereto as EXHIBIT 1 (the “APA”):
 9
                     Whatever interest the Bankruptcy Estate has (if any) in the Tecumseh
10
                      Receivables (inclusive of the $75,402.85 in monies from the TIF Checks, and
11                    the $13,400.00 in monies from the TIF+HAS Checks), subject to the rights,
                      title, and interests that Tecumseh may have in this property, if any.
12
                     All claims and causes of action that could be brought by the Trustee or the
13
                      Bankruptcy Estate against any third party relating in any way to the Tecumseh
14                    Receivables, pursuant to (i) chapter five of title 11 of the United States Code,
                      or (ii) all applicable or relevant state or federal laws (collectively, the
15                    “Claims”). For avoidance of doubt, the Claims include, but are not limited to,
                      all causes of action that could be brought by the Trustee pursuant to Sections
16
                      542, 543, 544, 545, 547, 548, 549, 550, 551, 552, and 553 of the United States
17                    Bankruptcy Code for any matter relating in any way to the Tecumseh
                      Receivables.
18
                     All books and records related to the foregoing that the Bankruptcy Estate
19
                      currently has in its possession.
20
     [Trustee’s Decl. at ¶ 8.]
21

22          9.        The APA is contingent upon Bankruptcy Court approval. [Id. at ¶ 9.]
23          10.       The purchase price for the Assets is $100,000.00 (“Initial Purchase Price”).
24   That amount is subject to overbid at auction, to be held by the Bankruptcy Court. HASelect is
25   aware that an auction will be held to identify any possible overbids. [Id. at ¶ 10.]
26          11.       The sale is subject to an auction to be held by the Bankruptcy Court. HASelect
27   is aware that an auction will be held to identify any possible overbids. [Id. at ¶ 11.]

28




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 1
                                     II.     ASSETS TO BE SOLD
 2          12.       The bankruptcy estate will sell the Assets at auction, on the terms and
 3   conditions stated above, and in accordance with the auction procedures to be set by the court.
 4          13.       As-Is Condition; No Warranties. The Assets shall be sold in an “as-is”
 5   condition, pursuant to the following terms and conditions. All bidders and the winning buyer
 6   are hereby notified of the following:
 7
                     The Assets will be sold subject to HASelect’s lien, and also whatever rights,
 8                    title, and interests that Tecumseh may have in the Tecumseh Receivables, if
                      any. Both HASelect’s and Tecumseh’s interests in the Assets that existed as of
 9
                      the Petition Date shall remain unaffected by the Sale.
10
                     Other than HASelect and Tecumseh, the Trustee is unaware of any interest of
11                    any other third party in the Assets. As such, the Trustee agrees to sell the
                      Assets pursuant to Section 363(f) of the Bankruptcy Code excluding these two
12
                      parties, i.e., the Sale of the Assets shall be made free and clear of the liens,
13                    claims, and encumbrances of any third party other than HASelect and
                      Tecumseh.
14
                     HASelect waives all further due diligence in the Assets.
15

16                   HASelect is in possession of certain books and records of the Debtor relating to
                      the Tecumseh Receivables, including computer records and paper records. The
17                    Trustee only has a list of the Tecumseh Receivables, as found in Court records.
18
                      Upon Court approval of the Sale, all books and records of the Debtor
                      pertaining to the Tecumseh Receivables, wherever located and in any form,
19                    shall be turned over to HASelect, and HASelect shall be empowered to enforce
                      said turnover against any party.
20

21                   The Trustee makes no representations or warranties to HASelect whatsoever,
                      express or implied, regarding the Assets, including but not limited to the
22                    condition, value, title, or collectability of the Tecumseh Receivables or the
                      Claims.
23

24                   HASelect expressly understands and agrees that:

25                       o The Assets being sold include whatever interest the Bankruptcy Estate
                           has in the Tecumseh Receivables (inclusive of the funds from the TIF
26
                           Checks and TIF+HAS Checks), if any, and that litigation is required to
27                         determine what interest (if any) the Bankruptcy Estate had in such
                           Assets as of the Petition Date; and
28




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 1                        o The Bankruptcy Estate may not have any right, title, or interest in the
                            Tecumseh Receivables.
 2
                      HASelect, not the Bankruptcy Estate or the Trustee, shall be responsible for
 3
                       and shall bear all fees, costs, and expenses to obtain clear title on the Assets, to
 4                     service and monetize the Assets, and to prosecute the Claims purchased herein
                       (which shall be prosecuted in HASelect’s name, as successor-in-interest to the
 5                     Claims).
 6
                      Upon Court approval of the Sale, the Assets shall no longer be property of the
 7                     Bankruptcy Estate and neither the Trustee nor the Bankruptcy Estate shall have
                       any obligation whatsoever regarding the Assets. For avoidance of doubt,
 8                     litigation of the dispute in the AP Case as to whether the Assets are
 9
                       property of the Bankruptcy Estate is not resolved by the Sale. HASelect’s
                       claims and causes of action relating to the Tecumseh Receivables in the AP
10                     Case, along with any related counterclaims of Tecumseh regarding title to the
                       Assets on the Petition Date, shall survive the Sale. After the Sale is
11                     consummated, neither the Trustee nor the Bankruptcy Estate shall have any
12
                       obligation to prosecute or defend any dispute (in the AP Case or otherwise)
                       regarding title to the Assets on the Petition Date.
13
                      HASelect expressly understands and agrees that the Bankruptcy Case has not
14                     been designated an operating chapter 7 case, and that the Tecumseh
15
                       Receivables have not been serviced by the Debtor or the Bankruptcy Estate
                       since the Petition Date, and hereby waives any and all claims against the Estate
16                     and the Trustee relating to this non-servicing and any diminishment of the
                       Assets that may have occurred prior to the Sale, if any.
17

18                           III.     PROPOSED AUCTION PROCEDURES

19
             14.       To provide an adequate auction for the Tecumseh Receivables, the Trustee

20
     proposes the following procedures (the “Procedures”) for determining the appropriate auction
     for the sale:
21
                          a. Pre-Qualification of Bidders.
22

23                                 HASelect is pre-qualified to bid at the Auction.
24                                 All other prospective bidders must deliver a $100,000 earnest money
                                    deposit (“EMD”) to the Trustee in good funds at least one business
25
                                    day prior to the Auction. These funds must be delivered either in a
26                                  cashier’s check made payable to “Robert E. Atkinson, Trustee” and
                                    delivered to his office, or wired to an estate bank account. The
27                                  Trustee has the discretion to accept cash, personal checks or money
                                    orders.
28




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 1                           If a bidder is not the Winning Bidder (as defined below), then the
                              Trustee shall return the EMD to that party within seven business
 2                            days, and may do so without further court order required.
 3
                    b. Bidding.
 4

 5
                             Only qualified bidders shall be permitted to bid.

 6                           The initial overbid shall be at least $110,000. All subsequent
                              overbids shall be at least $10,000 higher than the prior bid, as a
 7                            minimum increment.
 8
                             HASelect shall be permitted to credit bid on the amounts of any of
 9                            its bids in excess of the Initial Purchase Price, up to the total amount
                              owed shown on a proof of claim filed by HASelect in the
10                            Bankruptcy Case.
11
                    c. Determination of Winning Bidder.
12

13
                             If no bid is placed in excess of $100,000, then the buyer of the
                              Assets shall be HASelect, and the APA shall be approved in all
14                            respects.
15                           If bids occur at the Auction, then the highest bidder shall be the
                              winning bidder (“Winning Bidder”). The earnest money deposit
16
                              held by the Trustee from that party shall be applied towards the
17                            winning purchase price.

18                               -     If the highest bidder is HASelect, then HASelect shall
                                       promptly amend its proof of claim to reduce it by the amount
19
                                       of its credit bid.
20
                                 -     If the highest bidder is not HASelect, then that entity shall
21                                     have five (5) business days to transfer the remaining portion
                                       of the winning purchase price to the Trustee, in good funds in
22                                     United States currency.
23
                             If the highest bidder fails to timely transfer the remaining portion of
24                            the winning purchase price to the Trustee (unless that time period is
                              extended by the Trustee, in his sole discretion), then in such
25                            instance: (i) the sale to that party shall be annulled, with no further
                              obligation to the Trustee to consummate the sale to that non-timely-
26
                              performing party; (ii) that party’s EMD shall be non-refundable as
27                            liquidated damages; and (iii) the next-highest bidder shall be the
                              Winning Bidder, and that party shall be subject to this subsection.
28




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 1                                If HASelect is not the winning bidder at the Sale, then the Trustee
                                   shall promptly remit the Initial Purchase Price back to HASelect.
 2

 3                      d. Disposition of the Funds from the TIF and TIF+HAS Check.

 4                                Within fifteen (15) business days after Sale consummation, if not
 5
                                   stayed, the Trustee shall remit the funds in his possession from the
                                   TIF Checks and TIF+HAS Checks to the Winning Bidder, without
 6                                 further court order required.
 7                                Debtor (inclusive of Debtor’s principals) shall have a continuing
 8
                                   obligation to remit any funds that it may possess arising from the
                                   Tecumseh Receivables, or come into possession of at any time in the
 9                                 future, to the Winning Bidder.

10
                        IV.        LEGAL AUTHORITIES & ARGUMENT
11
        A. Section 363(b) Sale in Sound Judgment and Good Faith
12
            15.     Section 363 of the Bankruptcy Code provides that a Trustee “may use, sell, or
13
     lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C.
14
     §363(b). A proposed sale may be approved by the Court if the sale is a sound exercise of the
15
     Trustee’s business judgment and is proposed in good faith and for fair value. In re Air Beds,
16
     Inc., 92 B.R. 419 (9th Cir. B.A.P. 1998).
17
            16.     The general terms of the sale are as follows: the Trustee shall sell the Assets by
18
     auction to the highest bidder in a hearing set for one week after this motion’s hearing. The
19
     sale is subject to Court approval.
20
            17.     The Trustee, in his business judgment, believes (i) that the terms of the sale, as
21
     set forth in the APA and via the auction, constitute a fair and reasonable deal for the
22
     Bankruptcy Estate; and (ii) consummation of a sale of the purchased assets is in the best
23
     interest of the Bankruptcy Estate and its creditors. [Trustee’s Decl. at ¶ 12.]
24
            18.     For the reasons stated above, the proposed auction of the Assets should be
25
     approved as a sale being made in the Trustee’s sound judgment and in good faith.
26
     Accordingly, the Trustee also requests that the Court deem the sale to be made in good faith,
27
     and that the buyer be afforded the protections found in 11 U.S.C. § 363(m).
28




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 1       B. Free and Clear of All Liens, Claims, and Encumbrances Except for those of HASelect
            and Tecumseh
 2
             19.     Section 363(f) of the Bankruptcy Code permits the sale of assets free and clear
 3
     of all liens, claims, and encumbrances.
 4
             20.     Other than HASelect and Tecumseh, the Trustee is unaware of any interest of
 5
     any other third party in the Assets. [Id. at ¶ 13.]
 6
             21.     The Trustee, therefore, seeks authority to sell the Assets pursuant to Section
 7
     363(f) of the Bankruptcy Code excluding these two parties, i.e., the Sale of the Assets shall be
 8
     made free and clear of the liens, claims, and encumbrances of any third party other than
 9
     HASelect and Tecumseh.
10
         C. Relief Under Bankruptcy Rule 6004(h) is Requested and Appropriate
11
             22.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or
12
     lease of property . . . is stayed until the expiration of 14 days after entry of the order, unless
13
     the court orders otherwise.”
14
             23.     The purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for an
15
     objecting party to appeal before an order can be implemented. See Advisory Committee
16
     Notes to Bankruptcy Rule 6004(h). Although Bankruptcy Rule 6004(h) and the Advisory
17
     Committee Notes are silent as to when a court should ‘order otherwise’ and eliminate or
18
     reduce the 14-day stay, Collier on Bankruptcy suggests that the 14-day stay period should be
19
     eliminated to allow a sale or other transaction to close immediately “where there has been no
20
     objection to the procedure.” 10 Collier on Bankruptcy, § 6004.10 (15th rev.).
21

22                                  V.     RELIEF REQUESTED

23           24.     A proposed form of order is attached hereto as EXHIBIT 2. By this Motion,

24   the Trustee seeks the entry of an order:

25                      Approving the sale of the Assets at auction, free and clear of all liens,
                         claims, and encumbrances pursuant to Section 363(f) of the Bankruptcy
26
                         Code, except for those of HASelect and Tecumseh;
27
                        Approving the Procedures for the Auction;
28




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 1                  Setting a date and time for the Auction;

 2                  Allowing the winning bidder the protections found in 11 U.S.C. § 363(m);
 3
                    A waiver of the 14-day stay of Rule 6004(h); and
 4
                    All other relief sought in the proposed form of order.
 5

 6                                           #####

 7   DATED: December 3, 2021                   ATKINSON LAW ASSOCIATES LTD.
 8
                                               By:         /s/ Clarisse Crisostomo
 9                                                   CLARISSE L. CRISOSTOMO, ESQ.
                                                     Nevada Bar No. 15526
10                                                   Attorney for Robert E. Atkinson, Trustee
11

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                         EXHIBIT 1
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                         EXHIBIT 2
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11
     Attorney for Robert E. Atkinson, Trustee
12
                         UNITED STATES BANKRUPTCY COURT
13                          FOR THE DISTRICT OF NEVADA
14
      In re:                                       Case No. 21-14486-abl
15                                                 Chapter 7
      INFINITY CAPITAL MANAGEMENT, INC.
16
      dba INFINITY HEALTH CONNECTIONS,             ORDER APPROVING MOTION TO:
17                                                 (I) APPROVE SALE OF CERTAIN
                    Debtor.                        ASSETS; (II) SET SALE/AUCTION
18                                                 PROCEDURES; AND (III) SET
                                                   AUCTION HEARING DATE
19

20                                                 Hearing Date: _______________, 2021
                                                   Hearing Time: ___________ a.m./p.m.
21

22
                                                   AUCTION INFORMATION
23                                                 (Telephonic Only):

24                                                 Auction Sale Date:
25                                                 Auction Time:
26                                                 Call-In Number:      (888) 684-8852
                                                   Access Code:         8242009#
27

28




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 1
            The Trustee’s motion entitled MOTION TO: (I) APPROVE SALE OF CERTAIN
 2
     ASSETS; (II) SET SALE/AUCTION PROCEDURES; AND (III) SET AUCTION HEARING
 3
     DATE [DE #____ ] (“Motion”) came on for a hearing before this Court. Appearances were as
 4
     noted in the record.
 5
            The Motion sought the following relief: (i) approving the sale of non-abandoned
 6
     accounts receivable owned by the Bankruptcy Estate to creditor HASelect-Medical
 7
     Receivables Litigation Finance Fund International SP (“HASelect”), subject to overbid at
 8
     auction; (ii) setting the auction time of the sale; and (iii) establishing the procedures for such
 9
     auction.
10
            The Trustee entered into a sale agreement (“APA”) with HASelect, to sell the
11
     Receivables to that entity for $100,000.00, subject to overbid at the auction.
12
            All findings of fact and conclusions of law orally stated by the Court at the hearing are
13
     incorporated herein pursuant to Fed. R. Civ. P. 52, as made applicable to these proceedings via
14
     Fed. R. Bankr. P. 9014(c) and 7052.
15
            For the reasons provided by the Court on the record at the hearing,
16
            IT IS ORDERED that the relief requested in the Motion is hereby GRANTED in all
17
     respects.
18
            IT IS FURTHER ORDERED that:
19
            1.      The Asset Purchase Agreement, attached as Exhibit 1 to the Motion (the “APA”),
20   is approved, contingent upon possible overbid at auction. If HASelect is not the Winning
21   Bidder (as that term is defined below), then the APA shall be of no force or effect.
22          2.      An auction to sell the Assets (the “Auction”) shall be held before this Court at
23   the time and date found in the caption to this Order. The Auction shall be held telephonically.
24   The call-in number and passcode are found in the caption to this order.
25          3.      The procedures for the Auction are as follows:
26                      a. Pre-Qualification of Bidders.
27
                               HASelect is pre-qualified to bid at the Auction.
28




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 1                          All other prospective bidders must deliver a $100,000 earnest money
                             deposit (“EMD”) to the Trustee in good funds at least one business
 2
                             day prior to the Auction. These funds must be delivered either in a
 3                           cashier’s check made payable to “Robert E. Atkinson, Trustee” and
                             delivered to his office, or wired to an estate bank account. The
 4                           Trustee has the discretion to accept cash, personal checks or money
                             orders.
 5

 6                          If a bidder is not the Winning Bidder (as defined below), then the
                             Trustee shall return the EMD to that party within seven business
 7                           days, and may do so without further court order required.
 8
                    b. Bidding.
 9
                            Only qualified bidders shall be permitted to bid at the Auction.
10

11                          The initial overbid shall be at least $110,000. All subsequent
                             overbids shall be at least $10,000 higher than the prior bid, as a
12                           minimum increment.
13
                            HASelect shall be permitted to credit bid on the amounts of any of
14                           its bids in excess of the Initial Purchase Price, up to the total amount
                             owed shown on a proof of claim filed by HASelect in the
15                           Bankruptcy Case.
16
                    c. Determination of Winning Bidder.
17
                            If no bid is placed in excess of $100,000, then the buyer of the
18
                             Assets shall be HASelect, and the APA shall be approved in all
19                           respects.

20                          If bids occur at the Auction, then the highest bidder shall be the
                             winning bidder (“Winning Bidder”). The earnest money deposit
21
                             held by the Trustee from that party shall be applied towards the
22                           winning purchase price.

23                              -   If the highest bidder is HASelect, then HASelect shall
                                    promptly amend its proof of claim to reduce it by the amount
24                                  of its credit bid.
25
                                -   If the highest bidder is not HASelect, then that entity shall
26                                  have five (5) business days to transfer the remaining portion
                                    of the winning purchase price to the Trustee, in good funds in
27                                  United States currency.
28




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 1                              If the highest bidder fails to timely transfer the remaining portion of
                                 the winning purchase price to the Trustee (unless that time period is
 2
                                 extended by the Trustee, in his sole discretion), then in such
 3                               instance: (i) the sale to that party shall be annulled, with no further
                                 obligation to the Trustee to consummate the sale to that non-timely-
 4                               performing party; (ii) that party’s EMD shall be non-refundable as
                                 liquidated damages; and (iii) the next-highest bidder shall be the
 5
                                 Winning Bidder, and that party shall be subject to this subsection
 6
                                If HASelect is not the winning bidder at the Sale, then the Trustee
 7                               shall promptly remit the Initial Purchase Price back to HASelect.
 8
                         d. Disposition of the Funds from the TIF and TIF+HAS Check.
 9
                                Within fifteen (15) business days after Sale consummation, if not
10
                                 stayed, the Trustee shall remit the funds in his possession from the
11                               TIF Checks and TIF+HAS Checks, to the Winning Bidder, without
                                 further court order required.
12
                                Debtor (inclusive of Debtor’s principals) shall have a continuing
13
                                 obligation to promptly remit any and all funds arising from the
14                               Tecumseh Receivables to the Winning Bidder, including any such
                                 funds that it may come into possession of at any time in the future.
15

16          4.        The Winning Bidder is hereby afforded the protections found in 11 U.S.C. §

17   363(m), to the maximum extent possible under law.

18          5.        The Assets shall pass to the Winning Bidder only after the Auction is held and

19   the entire auction purchase price is received by the Trustee in good funds.

20          6.        The Winning Bidder shall take the Assets in an “as-is” condition, pursuant to

21   the following terms and conditions. All bidders and the Winning Bidder are hereby notified of

22   the following:

23                              The Assets will be sold subject to HASelect’s lien, and also
                                 whatever rights, title, and interests that Tecumseh may have in the
24
                                 Tecumseh Receivables, if any. Both HASelect’s and Tecumseh’s
25                               interests in the Assets that existed as of the Petition Date shall
                                 remain unaffected by the Sale.
26
                                The Assets are being sold pursuant to Section 363(f) of the
27
                                 Bankruptcy Code excluding HASelect and Tecumseh, i.e., the Sale
28                               of the Assets shall be made free and clear of the liens, claims, and
                                 encumbrances of any third party other than HASelect and Tecumseh.


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 1                          No due diligence in the Assets is permitted after the Auction.
 2
                            HASelect is in possession of certain books and records of the
 3                           Debtor relating to the Tecumseh Receivables, including computer
                             records and paper records. The Trustee only has a list of the
 4                           Tecumseh Receivables, as found in Court records. Upon Court
                             approval of the Sale, all books and records of the Debtor pertaining
 5
                             to the Tecumseh Receivables, wherever located and in any form,
 6                           shall be turned over to HASelect, and HASelect shall be
                             empowered to enforce said turnover against any party.
 7
                            The Trustee makes no representations or warranties whatsoever,
 8                           express or implied, regarding the Assets, including but not limited to
 9
                             the condition, value, title, or collectability of the Tecumseh
                             Receivables or the Claims.
10
                            The Winning Bidder shall take the Assets with actual knowledge
11                           that:
12
                                -   The Assets being sold include whatever interest the
13                                  Bankruptcy Estate has in the Tecumseh Receivables
                                    (inclusive of the funds from the TIF Checks and TIF+HAS
14                                  Checks), if any, and that litigation is required to determine
                                    what interest (if any) the Bankruptcy Estate had in that
15
                                    property as of the Petition Date; and
16
                                -   The Bankruptcy Estate may not have any right, title, or
17                                  interest in the Tecumseh Receivables.
18                          The Winning Bidder, not the Bankruptcy Estate or the Trustee, shall
19
                             be responsible for and shall bear all fees, costs, and expenses to
                             obtain clear title on the Assets, to service and monetize the Assets,
20                           and to prosecute the Claims purchased herein (which shall be
                             prosecuted in the the Winning Bidder’s name, as successor-in-
21                           interest to the Claims).
22
                            Upon Court approval of the Sale, the Assets shall no longer be
23                           property of the Bankruptcy Estate and neither the Trustee nor the
                             Bankruptcy Estate shall have any obligation whatsoever regarding
24                           the Assets. For avoidance of doubt, litigation of whether the
                             Assets are property of the Bankruptcy Estate is not resolved by
25
                             the Sale. HASelect’s claims and causes of action relating to the
26                           Tecumseh Receivables in the AP Case, along with any related
                             counterclaims of Tecumseh regarding title to the Assets on the
27                           Petition Date, shall survive the Sale. After the Sale is consummated,
                             neither the Trustee nor the Bankruptcy Estate shall have any
28




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 1                               obligation to prosecute or defend any dispute (in the AP Case or
                                 otherwise) regarding title to the Assets on the Petition Date.
 2

 3
                                The Bankruptcy Case has not been designated an operating chapter 7
                                 case, and that the Tecumseh Receivables have not been serviced by
 4                               the Debtor or the Bankruptcy Estate since the Petition Date. The
                                 Winning Bidder shall be deemed to waive any and all claims against
 5
                                 the Estate and the Trustee relating to this non-servicing and any
 6
                                 diminishment of the Assets that may have occurred prior to the Sale,
                                 if any.
 7

 8          7.        The 14-day stay otherwise imposed by Bankruptcy Rule 6004(h) is hereby

 9   waived.

10   IT IS SO ORDERED.

11                                            # # # # #

12   Respectfully submitted by:

13       /s/ Clarisse Crisostomo
     CLARISSE L. CRISOSTOMO, ESQ.
14   Nevada Bar No. 15526
     Attorney for Robert E. Atkinson, Trustee
15

16

17
                                     CERTIFICATION re: RULE 9021
18

19   In accordance with LR 9021, counsel submitting this document certifies that the order accurately
     reflects the court’s ruling and that (check one):
20
               The court has waived the requirements set forth in LR 9021(b)(1).
21

22             No other party appeared at the hearing or filed an objection to the motion.

23          I have delivered a copy of this proposed order to all counsel who appeared at the
            hearing, and any unrepresented parties who appeared at the hearing, and each has
24
            approved or disapproved the order, or failed to respond, as indicated below:
25
            I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
26          order with the motion pursuant to LR 9014(g), and that no party has objected to the
            form or content of the order.
27
                                              # # # # #
28




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